         Case 1:18-bk-11919-MB                      Doc 36 Filed 08/16/18 Entered 08/17/18 00:01:39                                                    Desc
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                                                 S TAT E M E N T O F R E L AT E D C A S E S
                                          INFORMATION REQUIRED BY LBR 1015-2
            UNITED STATES BANKRUPTCY COURT, CENTRAL DISTRICT OF CALIFORNIA
1. A petition under the Bankruptcy Act of 1898 or the Bankruptcy Reform Act of 1978 has previously been filed by or
    against the debtor, his/her spouse, his or her current or former domestic partner, an affiliate of the debtor, any
    copartnership or joint venture of which debtor is or formerly was a general or limited partner, or member, or any
    corporation of which the debtor is a director, officer, or person in control, as follows: (Set forth the complete number
    and title of each such of prior proceeding, date filed, nature thereof, the Bankruptcy Judge and court to whom
    assigned, whether still pending and, if not, the disposition thereof. If none, so indicate. Also, list any real property
    included in Schedule A that was filed with any such prior proceedlng(s).)
Prior Filings for debtor Juan Rene Mejia Case Number 14-54516, Chapter 7 filed In California Northern Bankruptcy Court on
11/06/2014, Dismissed for Failure to File Information on 01/06/2015; Case Number 18-11454, Chapter 7 filed In California
Central Bankruptcy on 06/07/2018, Dismissed for Failure to File Information on 06/25/2018. Case Number 18-11682, Chapter
7 filed In California Central Bankruptcy on 0703/2018. Dismissed for Failure to File Information on 07/18/2018.

2. (If petitioner is a partnership or joint venture) A petition under the Bankruptcy Act of 1898 or the Bankruptcy Reform
     Act of 1978 has previously been filed by or against the debtor or an affiliate of the debtor, or a general partner in the
     debtor, a relative of the general partner, general partner of, or person in control of the debtor, partnership in which the
     debtor is a general partner, general partner of the debtor, or person in control of the debtor as follows: (Set forth the
     complete number and title of each such prior proceeding, date filed, nature of the proceeding, the Bankruptcy Judge
     and court to whom assigned, whether still pending and, if not, the disposition thereof. If none, so Indicate. Also, list
     any real property included in Schedule A that was filed with any such prior proceeding(s).)
None

3. (If petitioner is a corporation) A petition under the Bankruptcy Act of 1898 or the Bankruptcy Reform Act of 1978 has
     previously been filed by or against the debtor, or any of its affiliates or subsidiaries, a director of the debtor, an officer
     of the debtor, a person in control of the debtor, a partnership in which the debtor is general partner, a general partner
     of the debtor, a relative of the general partner, director, officer, or person in control of the debtor, or any persons, firms
     or corporations owning 20% or more of its voting stock as follows: (Set forth the complete number and title of each
     such prior proceeding, date filed, nature of proceeding, the Bankruptcy Judge and court to whom assigned, whether
     stili pending, and if not, the disposition thereof. If none, so indicate. Also, list any real property Included In Schedule A
    that was filed with any such prior proceeding(s).)
None

4. (If petitioner is an individual) A petition under the Bankruptcy Reform Act of 1978, including amendments thereof, has
     been filed by or against the debtor within the last 180 days: (Set forth the complete number and title of each such prior
     proceeding, date filed, nature of proceeding, the Bankruptcy Judge and court to whom assigned, whether still
     pending, and if not, the disposition thereof. If none, so indicate. Also, list any real property Included In Schedule A
    that was filed with any such prior proceeding(s).)
None


I declare, under penalty of perjury, that the foregoing is true and correct. ,,

 Executed at Rosemead, CA , California. —-
                                                                                                     Jua^ene~^ia
 Date: August 04,2018 Sij^ature^ Debtor


                                                                                                     Signature of Joint Debtor




                 This (brtn is mandatoiy. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

December 2012                                                            P a g e f F 1 0 1 5 - 2 . 1 . S T M T. R E L AT E D . C A S E S
